                                                                      EXHIBIT
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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

JOHN JOHNSON                                        §   CIVIL ACTION NO.
                                                    §
              Plaintiff,                            §
                                                    §   DISTRICT JUDGE
VS.                                                 §
                                                    §
NOBLE DRILLING (US), LLC,                           §   MAGISTRATE
ET AL.                                              §
                                                    §
              Defendants.                           §

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